
Quality Custom Medical Supply, Inc., as Assignee of Ranisha McMeo, Appellant,
againstAmerican Country Ins. Co., Respondent.




Gary Tsirelman, P.C. (Darya Klein of counsel), for appellant.
Rossillo &amp; Licata, P.C., for respondent (no brief filed).

Appeal from an order of the Civil Court of the City of New York, Kings County (Harriet L. Thompson, J.), entered December 7, 2016, deemed from a judgment of that court entered March 13, 2017 (see CPLR 5501 [c]). The judgment, entered pursuant to the December 7, 2016 order, granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the judgment is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, defendant moved for summary judgment dismissing the complaint on the ground of lack of medical necessity. By order entered December 7, 2016, the Civil Court granted defendant's motion. This appeal by plaintiff ensued. A judgment was subsequently entered on March 13, 2017, from which the appeal is deemed to have been taken (see CPLR 5501 [c]).
Contrary to plaintiff's contention, defendant's proof was sufficient to give rise to a presumption that the denial of claim form had been properly mailed (see St. Vincent's Hosp. of Richmond v Government Empls. Ins. Co., 50 AD3d 1123 [2008]). In addition, the peer review report submitted by defendant sufficiently set forth a factual basis and medical rationale for the peer reviewer's determination that there was a lack of medical necessity for the supplies at issue and plaintiff failed to submit any medical evidence to rebut the conclusions set forth in the peer review report. Plaintiff's remaining contentions lack merit.
Accordingly, the judgment is affirmed.
PESCE, P.J., WESTON and ALIOTTA, JJ., concur. 
ENTER:Paul KennyChief ClerkJuly 12, 2019Decision Date: July 12, 2019










